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     Attorneys for Plaintiff
21                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
22
                                    SAN JOSE DIVISION
23   SHEILA NEGRON                   *    Civil Action No. 5:18-cv-02207-LHK
                          Plaintiff  *
24
     versus                          *    NOTICE OF MOTION AND
25                                   *    MOTION TO WITHDRAW AS COUNSEL
     INTUITIVE SURGICAL, INC. *           FOR PLAINTIFF; [PROPOSED] ORDER
26                        Defendant *     GRANTING MOTION TO WITHDRAW
27                                    *         Date: April 11, 2019
                                      *         Time: 1:30 p.m.
28   *********************************          Judge: The Hon. Lucy H. Koh



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 2
                                           NOTICE OF MOTION
 3

 4           TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

 5           PLEASE TAKE NOTICE that, on Thursday, April 11, 2019, at 1:30 p.m., or as
 6
     soon thereafter as the matter may be heard before the Honorable Lucy H. Koh, United
 7

 8
     States District Judge, Courtroom 8, 4th Floor, of the United States District Court for the

 9   Northern District of California, San Jose Division, 280 South 1st Street, San Jose,
10
     California 95113, Movers, Ronnie G. Penton, Nancy Hersh, Francois M. Blaudeau, Evan
11
     Taylor Rosemore, and Leah F. Walsh, shall and hereby do respectfully seek Leave of this
12

13   Court, pursuant to LOCAL RULE 11-5(a) and in compliance with CAL. R. PROF. CONDUCT
14
     3-700, to withdraw as counsel for Plaintiff, Sheila Negron.
15
                       MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF
16

17           Pursuant to Local R. 11-5, Movants, Ronnie G. Penton, Nancy Hersh, Francois M.
18
     Blaudeau, Evan Taylor Rosemore, and Leah F. Walsh, hereby notify the parties and the
19
     Court of their intent to withdraw as counsel for Plaintiff. Movants state the following
20

21   grounds for this notice and motion:
22
             1.       This Court granted Ronnie G. Penton Leave to appear pro hac vice in this
23
     action pursuant to its order dated July 17, 2018;
24

25           2.       This Court granted Francois M. Blaudeau Leave to appear pro hac vice in
26   this action pursuant to its order dated July 20, 2018;
27

28



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 1           3.       This Court granted Evan T. Rosemore Leave to appear pro hac vice in this
 2
     action pursuant to its order dated February 20, 2019;
 3

 4
             4.       This Court granted Leah F. Walsh Leave to appear pro hac vice in this

 5   action pursuant to its order dated March 11, 2019;
 6
             5.       Nancy Hersh entered into this action pursuant to Notice of Substitution of
 7

 8
     Counsel, filed on July 17, 2018.

 9           6.       Movants have notified Plaintiff of their intent to withdraw as her counsel of
10
     record.
11
             7.       Plaintiff has notified Movers of her intent to retain counsel to continue her
12

13   representation in the above captioned matter.
14
             8.       On March 5, 2019, counsel had a telephone conversation with Plaintiff
15
     wherein she advised of her intent to retain other counsel and on March 6, 2019, counsel
16

17   forwarded to Plaintiff a copy of her file to turn over to her new counsel. Additionally, on
18
     March 7, 2019, counsel forwarded another letter to Plaintiff advising of their intent to
19
     withdraw and on March 15, 2019, Movers sent another correspondence to Plaintiff
20

21   reiterating all prior communication with Plaintiff and, once again, communicating her
22
     rights to her and advising that we will be filing a Motion to withdraw from her case.
23
     Plaintiff, once again, on March 13, 2019 advised counsel that she would be retaining the
24

25   services of another lawyer.
26           9.       Since Movers have received no notice that another attorney will be entering
27
     an appearance on behalf of Plaintiff, and in an effort to alleviate any burden on the parties
28



     Plaintiff’s Motion to Withdraw      Case No. 5:18-cv-02207-LHK                            Page 3
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 1   and this Court, Movers have advised Plaintiff that, until she retains new counsel, they are
 2
     willing to proceed on her behalf in the capacity of Conditional Withdrawal, pursuant to
 3

 4
     LOCAL RULE 11-5(b). Plaintiff has acknowledged her understanding that Movers will no

 5   longer be representing her, other than in the sole capacity to forward all filed
 6
     documentation to her, until another another attorney can enroll on her behalf.
 7

 8
             Given the nature of this Motion, as well as the substantial burden to all parties in

 9   travelling and attending a hearing on this Motion, Movants respectfully request that the
10
     Court waive oral argument.
11
             THEREFORE, Movants, Ronnie G. Penton, Nancy Hersh, Francois M. Blaudeau,
12

13   Evan Taylor Rosemore, and Leah F. Walsh, respectfully request that this Court waive
14
     oral argument on this Motion, grant them Leave to withdraw as counsel in the above-
15
     captioned matter, and enter an order stating that Movants have so withdrawn.
16

17           Dated: March 25, 2019
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11                                     Attorneys for Plaintuiff, Sheila Negron
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 1                                    CERTIFICATE OF SERVICE
 2
             I hereby certify that service of the above and foregoing pleading was
 3

 4
     accomplished through the Notice of Electronic Filing for the following parties and

 5   counsel who are Filing Users and that service was accomplished on any party or counsel
 6
     who is not a Filing User in accordance with the Federal Rules and Local Rules of this
 7

 8
     Honorable Court on this date.

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             March 25, 2019.
16

17                                    s/Ronnie G. Penton
                                      Ronnie G. Penton
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